Case 3:17-cv-02507-LAB-MDD Document 90 Filed 09/18/18 PageID.1132 Page 1 of 1



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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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     ANTON EWING,                                        CASE NO. 17cv2507-LAB (MDD)
11                                        Plaintiff,
                                                         ORDER DENYING PLAINTIFF’S
12                         vs.                           MOTION TO STRIKE [Dkt. 89]
13   EMPIRE CAPITAL FUNDING GROUP,
     INC., et al.,
14
                                      Defendants.
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16          Defendants Ascend Funding, LLC and Peter Tafeen filed a Motion to Dismiss for lack
17   of jurisdiction and for failure to state a claim. Dkt. 87. Plaintiff Anton Ewing has now filed a
18   Motion to Strike the jurisdiction portion of that Motion, arguing that the Court has already
19   determined jurisdiction as to these defendants. Dkt. 89. This is improper motion practice
20   that causes “unnecessary delay” and “needlessly increase[s] the cost of litigation.” FRCP
21   11(b)(1). His motion is DENIED. If Plaintiff wants to respond to Defendants’ Motion to
22   Dismiss, he should do so through an opposition, as set out in LR 7.1(e)(2).             Further
23   unnecessary filings are grounds for sanctions.
24          IT IS SO ORDERED.
25   Dated: September 17, 2018
26                                                     HONORABLE LARRY ALAN BURNS
                                                       United States District Judge
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